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15
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16 Company
17                     UNITED STATES DISTRICT COURT
18                  NORTHERN DISTRICT OF CALIFORNIA
19
   IN RE: ROUNDUP PRODUCTS               MDL No. 2741
20 LIABILITY LITIGATION,
                                         Case No. 3:16-md-02741-VC
21
   Estate of Ramón Berrios-Sampler,      MONSANTO COMPANY’S NOTICE OF
22 represented by represented by         MOTION AND MOTION FOR
   Ramón Berrios Rivera,                 SUMMARY JUDGMENT ON
23 3:22-cv-02310-VC                      CAUSATION GROUNDS
24
                                         Hearing:
25                                       Date: August 29, 2024
                                         Time: 2:00 p.m.
26                                       Place: Courtroom 4 (Via Zoom)
27
28

                       MONSANTO’S MOTION FOR SUMMARY JUDGMENT
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 1         TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
 2 RECORD:
 3         PLEASE TAKE NOTICE THAT on August 29, 2024 at 2:00 p.m. in
 4 Courtroom 4 of the United States District Court, Northern District of California,
 5 located at 450 Golden Gate Avenue, San Francisco, CA 94102, or as ordered by the
 6 Court, Defendant Monsanto Company (“Monsanto”) will move this Court for an
 7 order, pursuant to Federal Rule of Civil Procedure 56(c), entering judgment in its
 8 favor and against Wave 7G Plaintiff Estate of Ramón Berrios-Sampler, represented
 9 by represented by Ramón Berrios Rivera (“Plaintiff”), on the grounds that there is
10 no genuine issue of material fact as to any claim for relief brought by Plaintiff, and
11 Monsanto is entitled to summary judgment.
12
13 Dated: July 29, 2024                    Respectfully submitted,
14
                                           /s/ Jed P. White
15                                                Jed P. White
16                                         Attorney for Defendant Monsanto Company

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                MONSANTO’S NOTICE OF MOTION & MOTION FOR SUMMARY JUDGMENT
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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2           To prevail on any of his claims, Plaintiff must prove that Roundup was the
 3 proximate cause of his cancer.                 Whether Roundup—a chemical compound—is
 4 defective, can cause cancer generally, and whether it actually did cause Plaintiff’s
 5 cancer specifically, are specialized issues for which expert testimony is required.
 6 Plaintiff failed to disclose any expert reports regarding specific causation, which were
 7 due June 7, 2024. Without expert testimony to prove specific causation, none of
 8 Plaintiff’s claims may proceed.
 9                                            BACKGROUND
10           Plaintiff is a resident of Puerto Rico, and alleges that exposure to Monsanto’s
11 Roundup-branded herbicides (“Roundup”) caused Plaintiff to develop cancer.1 See
12 Complaint. ECF 1, ¶¶ 9-12. Plaintiff seeks to hold Monsanto responsible for his
13 cancer, asserting seven causes of action. The lynchpin of Plaintiff’s complaint is that
14 glyphosate—the active-ingredient in Roundup—caused Plaintiff’s cancer. See id.
15           On August 30, 2023, this MDL Court required all Wave 7G plaintiffs, including
16 Plaintiff in this case, to submit expert reports no later than June 7, 2024. See Order
17 Granting Joint Request for Revised Schedule for Wave 6-7 Cases and Adding Wave
18 8 Schedule (“Scheduling Order”) (MDL ECF #17234). The expert discovery required
19 by this Order must be accompanied by written reports signed by the experts and must
20 contain “a complete statement of all opinions the witnesses will express and the basis
21 and reasons for them,” among other information. Fed. R. Civ. P. 26(a)(2)(B)(i).
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       For cases “filed in, or removed to, federal courts across the country and transferred to the MDL
25   court by the Judicial Panel on Multidistrict Litigation[,] . . . the MDL court must apply the law of
     the transferor forum, that is, the law of the state in which the action was filed, including the transferor
26   forum’s choice-of-law rules.” In re Vioxx Prods. Liab. Litig., 478 F. Supp. 2d 897, 903 (E.D. La.
     2007). Here, Puerto Rico is the transferor forum. However, the Court does not need to decide
27   whether Puerto Rico or California law applies because under both sets of laws, expert testimony is
     required to establish specific causation in this case.
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                               MONSANTO’S MOTION FOR SUMMARY JUDGMENT
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 1          Plaintiff did not submit an expert report regarding specific causation by the
 2 June 7, 2024 deadline. Specifically, Plaintiff has not served any expert report
 3 containing case-specific evidence of a causal link between Roundup exposure and
 4 Plaintiff’s cancer. (Declaration of Jed White (“White Decl.”), ¶ 3.)
 5                        SUMMARY JUDGMENT STANDARD
 6          Summary judgment is appropriate when there is “no genuine dispute as to any
 7 material fact and the moving party is entitled to judgment as a matter of law.” Fed. R.
 8 Civ. P. 56(a). A fact is material when it could affect the outcome of the case, and a
 9 dispute about a material fact is genuine “if the evidence is such that a reasonable jury
10 could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477
11 U.S. 242, 248 (1986). The moving party bears the burden of “informing” the Court
12 that there exists the “absence of a genuine issue of material fact.” Celotex Corp. v.
13 Catrett, 477 U.S. 317, 323 (1986). Once the moving party has met this burden, the
14 nonmoving party must come forward with evidence to show there is in fact a genuine
15 issue for trial. Id. at 323-24. A “complete failure of proof concerning an essential
16 element of the nonmoving party’s case” warrants summary judgment and “necessarily
17 renders all other facts immaterial.” Id. at 323.
18                                      ARGUMENT
19 I.       SUMMARY JUDGMENT IS REQUIRED BECAUSE PLAINTIFF
20          LACK THE REQUIRED ADMISSIBLE EXPERT TESTIMONY ON
21          CAUSATION.
22          Under California and Puerto Rico law, expert medical testimony is required to
23 establish causation of a specific physical injury if such cause is not within the common
24 knowledge of the jurors. Stephen v. Ford Motor Co., 134 Cal. App. 4th 1363, 1373
25 (2005) (in a product liability case “where the complexity of the causation issue is
26 beyond common experience, expert testimony is required to establish causation”);
27 Cmty P’ship v. Presbyterian Hosp. of San Juan, 88 D.P.R. 391 (P.R. 1963) (“Where
28 there is no basis of common knowledge for such a conclusion, expert testimony may
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                          MONSANTO’S MOTION FOR SUMMARY JUDGMENT
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 1 be a sufficient foundation for it.”); see also Fitzgerald v. Manning, 679 F.2d 341, 350
 2 (4th Cir. 1982) (“expert testimony is usually necessary to support the conclusion as
 3 to causation” where the cause of the alleged injury is “determinable only in the light
 4 of scientific knowledge”).
 5         Here, Plaintiff alleges that he was diagnosed with cancer, which he claims was
 6 caused by his exposure to Roundup. See Compl. ¶¶ 11-12. “With cancer the question
 7 of causation is especially troublesome[;] . . . it is frequently difficult to determine the
 8 nature and cause of a particular cancerous growth.” Jones v. Ortho Pharm. Corp., 163
 9 Cal. App. 3d 396, 403 (1985). As a result, “the unknown and mysterious etiology of
10 cancer is beyond the experience of laymen and can only be explained through expert
11 testimony.” Id. (citation and internal quotation marks omitted). Thus, the causal link
12 between Plaintiff’s injury and Roundup is a highly technical question of science that
13 is beyond the jurors’ understanding.
14         Plaintiff’s deadline to disclose expert reports was June 7, 2024. See Scheduling
15 Order. To date, Plaintiff has not disclosed a single expert witness or report regarding
16 specific causation. Plaintiff had ample time and opportunity to satisfy his expert
17 disclosure obligations under Rule 26(a)(2) and the Scheduling Order. And honoring
18 strict deadlines in an MDL is particularly important. See Allen v. Bayer Corp. (In re:
19 Phenylpropanolamine (PPA) Prods. Liab. Litig.), 460 F.3d 1217, 1222 (9th Cir. 2006)
20 (affirming dismissal of cases in MDL for failure to comply with case management
21 orders because “multidistrict litigation is different because of the large number of
22 cases that must be coordinated, its greater complexity, and the court’s statutory charge
23 to promote the just and efficient conduct of the actions”).
24         This Court has granted summary judgment in favor of Monsanto in similar
25 cases where the plaintiff failed to disclose a specific causation expert, finding that
26 expert testimony was required to prove causation:
27
           Expert testimony also is required to establish causation for Matthaus-
28         Shelton’s other product liability and tort claims. That’s because whether
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                          MONSANTO’S MOTION FOR SUMMARY JUDGMENT
      Case 3:16-md-02741-VC Document 18799 Filed 07/10/24 Page 6 of 7



 1         Roundup caused her multiple myeloma is a highly technical question that
           is not within the common knowledge and experience of an ordinary
 2         layperson.
 3 Matthaus-Shelton v. Monsanto Company, 20-cv-00168, Doc. No. 17 (Order Granting
 4 Summary Judgment, dated November 29, 2022); see also Adrine Hann v. Monsanto
 5 Company, 20-cv-7213, Doc. No. 23 (Order Granting Summary Judgment, dated
 6 November 3, 2022) (“Whether Roundup caused [Plaintiff’s] multiple myeloma is a
 7 highly technical and scientific question. Without expert testimony, a jury can only
 8 speculate.”).
 9         As a result of Plaintiff’s failure to disclose any expert on the issue of specific
10 causation, he cannot prove causation—an essential element of all his claims. Without
11 any evidence of case-specific causation, Monsanto is entitled to summary judgment
12 on all Plaintiff’s claims. See Stephen, 134 Cal. App. 4th at 1373-74 (plaintiff’s
13 “inability to present expert testimony was fatal to her product liability and negligence
14 claims, and [thus] nonsuit was proper”); Sterling v. United States, 834 F. App’x 83,
15 87 (5th Cir. 2020) (upholding summary judgment where the plaintiff failed to
16 designate expert witnesses); Cooper v. Smith & Nephew, Inc., 259 F.3d 194, 196-197
17 (4th Cir. 2001) (affirming dismissal of product liability claims where appellant “had
18 no admissible medical evidence indicating that [defendant]’s device was the
19 proximate cause of his injuries”); Jones v. Danek Med., Inc., No. Civ. A. 4:96-3323-
20 12, 1999 WL 1133272, at *5 (D.S.C. Oct. 12, 1999) (“There being no expert
21 testimony regarding causation, summary judgment is granted on the products liability
22 allegations.”).
23                                     CONCLUSION
24         For the foregoing reasons, Monsanto is entitled to summary judgment on all of
25 Plaintiff’s claims.
26 Dated: July 10, 2024                             Respectfully submitted,
27                                          /s/ Jed P. White
                                                    Jed P. White
28                                          Attorney for Defendant Monsanto Company
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                          MONSANTO’S MOTION FOR SUMMARY JUDGMENT
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 1                            CERTIFICATE OF SERVICE
 2        I hereby certify that on July 10, 2024, I electronically filed the foregoing with
 3 the Clerk of the Court by using the CM/ECF system which will send a notice of
 4 electronic filing (NEF) to all counsel of record who are CM/ECF participants.
 5                                         /s/ Jed P. White
 6                                         Jed P. White

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                         MONSANTO’S MOTION FOR SUMMARY JUDGMENT
